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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

    IN RE:                                           )           BANKRUPTCY CASE NO.
                                                     )
    REMINGTON OUTDOOR CO., INC.                      )           20-81688-CRJ-11
                                                     )
                                                     )           CHAPTER 11
                           DEBTOR(s).                )


                            CHAPTER 11 OPERATING PROCEDURES

                 A. MEETING WITH THE BANKRUPTCY ADMINISTRATOR

            The debtor shall meet with the Bankruptcy Administrator at a Date and Time
    established by the Bankruptcy Administrator.

                  Date:           To Be Determined by the Bankruptcy Administrator
                  Time:
                  Place:          Seybourn H. Lynne Federal Building
                                  400 Well Street, Cain Street Entrance
                                  Room 236
                                  Decatur, AL 35601

                                     B. BOOKS AND RECORDS

    1.     New books and records must have been opened on the date the Chapter 11
           petition was filed. If they were not, they must be opened upon receipt of these
           Procedures, unless otherwise ordered by this Court. The debtor must then close
           all of its old books and records, reconciled as of the day preceding the filing of the
           bankruptcy petition.

    2.     A schedule of all depreciable assets shall be provided to the Bankruptcy
           Administrator no later than the date of the scheduled meeting with the Bankruptcy
           Administrator. The schedule should include:

           a.     A description of the asset;
           b.     Method of depreciation;
           c.     Serial number;
           d.     Date purchased;
           e.     Useful life;
           f.     Purchase price
           g.     Accumulated depreciation; and




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           h.      Scrap value

                                  C. NEW BANK ACCOUNTS

            Necessary new bank accounts must have been opened on the date the Chapter
    11 petition was filed. If they were not, they must be opened upon receipt of these
    Procedures, unless otherwise ordered by this Court. The debtor must then close all old
    bank accounts, reconciled as of the day preceding the filing of the bankruptcy petition.

           When new accounts are set up:

                   The words “Chapter 11 Debtor-In-Possession - Bankruptcy
                   Case No. 20-81688-CRJ-11;" must be written on all
                   account signature cards.

                              D. PROOF OF NEW BANK ACCOUNTS

           When the debtor opens a new account, the debtor must file the following items
    with the Bankruptcy Clerk’s Office no later than the date of the scheduled meeting with
    the Bankruptcy Administrator:

           1.      The first check from the new account;

           2.      A copy of a signature card for every account in use after the date of filing the
                   bankruptcy petition bearing the words “Chapter 11 Debtor-In-Possession –
                   Bankruptcy Case No. 20-81688-CRJ-11;" and

           3.      A reconciled bank statement for every account in use before the filing of
                   the bankruptcy petition.

                      E. BANK ACCOUNT INSURANCE OR COLLATERAL

           The Federal Deposit Insurance Corporation (FDIC) insures its depositors (here
    Debtors-in-Possession) for $250,000. This maximum amount is applied to each depositor
    by each insured institution. It does not apply to each account. Therefore, insurance is not
    increased merely by dividing funds among different accounts in the same institution.

            If the debtor-in-possession has one or more accounts in any single institution
    where the total amount on deposit exceeds $250,000, the debtor-in-possession must either
    open another account in a separate bank or require from the institution holding these
    funds a bond or the deposit of securities with the Federal Reserve Bank, equal to the
    difference in the amount on deposit and $250,000 as required by 11 U.S.C. § 345. This
    should be done by the debtor immediately. Form No. BA-40(11), attached to these
    Procedures, should be used to complete this process. After the depository completes the
    form, it must be filed with the Bankruptcy Clerk’s Office.




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                                        F. BANK STATEMENTS

            The debtor-in-possession must file with the Bankruptcy Clerk’s Office a copy of
    its monthly bank statement, or statements if it has more than one account. The statement
    must be filed along with the Chapter 11 operating reports described in Paragraph K on a
    monthly basis and must be the statement for the month covered by the monthly operating
    reports. If the debtor does not receive its statement from its bank by the 15th day of the
    month so that the debtor is able to file it with the operating reports, the statement must be
    filed by the last working day of that month.

             G. POST-PETITION TAXES, PAYROLL ACCOUNTS, AND LICENSES

    1.     Within three work days after each regular payroll period, the debtor is required to
           pay to the Internal Revenue Service withheld or collected taxes in the form of a
           Federal Tax Deposit.

    2.     Within three work days after each regular quarterly period, the debtor is required
           to pay to the Internal Revenue Service the federal unemployment tax in the form
           of a Federal Tax Deposit.

    3.     If the debtor is an individual required to make quarterly tax estimate payments,
           those payments should be made when due.

    4.     State and local sales taxes will be paid to the taxing authorities per their
           existing regulations in a timely manner.

    5.     The debtor shall keep current all business licenses and permits and shall
           furnish the Bankruptcy Administrator with copies of the current licenses
           and provide copies of all renewed licenses as they are renewed.

                                             H. INSURANCE

    1.     The debtor shall insure all business-related property of the estate which would
           customarily be insured in the business engaged in by the debtor or non-business
           property which would customarily be insured by the debtor or persons in
           circumstances similar to those of the debtor in the area where the property is kept
           or utilized. If insurance is not maintained on property of a substantial value, the
           debtor must file a verified statement explaining why the asset is uninsured and
           serve a copy of the statement on each creditor who has a security interest in the
           uninsured property, if any. If workers’ compensation insurance is required by
           law, the debtor shall maintain said insurance in full force and effect.

    2.     By the date of the scheduled meeting with the Bankruptcy Administrator, the




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           debtor shall file with the Bankruptcy Clerk’s Office copies of all of its insurance
           policies or a list of all of its insurance policies. If a list is filed, each policy should
           be described to include:

           a.      Policy number;
           b.      Name of the insured;
           c.      A general description of the property insured;
           d.      The beneficiary;
           e.      Name and address of the insuring agent;
           f.      Amount of coverage;
           g.      Type of insurance;
           h.      Date of expiration;
           i.      Amount of premium;
           j.      Insurance carrier; and
           k.      Premium due date.

    3.     If a notice of cancellation or of non-renewal is given on any of the debtor’s
           insurance policies, or the debtor chooses not to renew any policy, the debtor shall
           notify the Bankruptcy Administrator in writing no later than three days after
           receipt of the notice or after deciding not to renew.

                      I. COPIES TO THE BANKRUPTCY ADMINISTRATOR

           The debtor shall provide the Bankruptcy Administrator with copies of motions to
    employ professionals, applications for compensation and expenses, and all plans and
    disclosure statements.

                         J. INSPECTION OF PROPERTY AND RECORDS

           The debtor shall permit the Bankruptcy Administrator reasonable inspection of its
    premises, properties, books, and records.

                                       K. FINANCIAL REPORTS

             A debtor-in-possession shall file with the Clerk, not later than the 15th day of the
    next succeeding month, an operating report for each month or part of a month after the
    entry of an order for relief under Chapter 11, Title 11, of the United States Code, which
    accurately reflects, in reasonable detail, the business transacted by the debtor and the
    results thereof and the condition of the bankruptcy estate and its assets.

            A debtor-in-possession shall file with the Clerk, not later than the 15th day of the
    month following each calendar quarter, a similar report for the immediately preceding
    quarter or part of a quarter after entry of such order for relief.

           By the 15th day of each month following entry of an order confirming a Chapter




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    11 plan, the debtor shall file with the Clerk a report for the preceding calendar month
    showing the steps taken toward consummation of the plan and any failure(s) by the
    debtor to comply with the terms of the plan, and as soon as is reasonably practicable and
    appropriate the debtor shall file with the Clerk a motion for a final decree, as provided for
    in Bankruptcy Rule 3022.

           The Bankruptcy Administrator may prescribe suitable forms for obtaining this
    information, giving consideration to clarity and simplicity.

                                    L. 120 DAY REPORT ON PLAN

           If a plan of reorganization has not been filed, the debtor-in-possession shall file on
    the 120th day after the order for relief in a Chapter 11 case, a report to the Court
    explaining why a plan and disclosure statement have not been filed, and shall describe
    what preparations are being undertaken to file those documents, and shall specify a date
    when they will be filed.


                                     M. STATUS CONFERENCE

           Status conferences may be set by the Bankruptcy Administrator with the debtor in
    the Bankruptcy Administrator’s office for reviews and clarifications of financial reports,
    bank statements, tax payments, licenses, permits, and insurance coverage of the debtor.

                                N. MISCELLANEOUS PROVISIONS

    1.     References in these Procedures to “Bankruptcy Administrator” include persons
           the Bankruptcy Administrator may designate.

    2.     All documents to be filed with or served on the Bankruptcy Administrator shall be
           delivered to the Bankruptcy Administrator divisional office where the case is
           pending.

    3.     All documents to be filed with or served on the Bankruptcy Clerk shall be
           delivered to the divisional office of the Clerk where the case is pending.

    4.     The debtor shall provide the chairperson of any committee appointed by the Court
           in this case copies of all documents required to be filed with or served on the
           Bankruptcy Administrator or the Bankruptcy Clerk.

            These Procedures do not relieve the debtor of any requirements of the bankruptcy
    statutes or Bankruptcy Rules.

    Respectfully submitted on this the 29th day of July, 2020.




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                                                 J. THOMAS CORBETT
                                                 United States Bankruptcy Administrator for
                                                 the Northern District of Alabama

                                                 BY:    /s/ Richard M. Blythe
                                                        Richard M. Blythe
                                                        Assistant U.S. Bankruptcy Administrator
                                                        Alabama. Bar ID: ASB-3199-B52R
    OF COUNSEL:
    United States Bankruptcy Administrator
    Northern District of Alabama
    Seybourn H. Lynne Federal Building
    Post Office Box 3045
    400 Well Street NE, Room 236
    Decatur, Alabama 35602
    (256) 340-2740
                                 CERTIFICATE OF SERVICE

            I hereby certify that on July 29, 2020, I have served a copy of the foregoing on
    the parties listed below by depositing the same in the United States Mail, postage prepaid
    and properly addressed, or if the party being served is a registered participant in the
    CM/ECF System for the United States Bankruptcy Court for the Northern District of
    Alabama, service has been made by a "Notice of Electronic Filing" pursuant to FRBP
    9036 in accordance with subparagraph II.B.4. of the Court's Administrative Procedures.

                                                 /s/ Richard M. Blythe
                                                 Richard M. Blythe
                                                 Assistant U.S. Bankruptcy Administrator
    Remington Outdoor Company, Inc.
    100 Electronics Blvd SW
    Huntsville, AL 35824

    Derek F. Meek
    Burr & Forman LLP
    420 North 20th Street, Suite 3400
    Birmingham, AL 35203
    dmeek@burr.com

    Stephen H. Warren
    O'Melveny & Myers LLP
    400 S. Hope Street
    Los Angeles, CA 90071
    swarren@omm.com




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